Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 1 of 45 PageID #: 20811




    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK

    UNITED STATES OF AMERICA


            v.

                                                    18 CR 204 (NGG)
    KATHY RUSSELL

                           Defendant.




                 SENTENCING MEMORANDUM OF KATHY RUSSELL




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Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 2 of 45 PageID #: 20812




                                                        TABLE OF CONTENTS

                                                                                                                                                Page

    TABLE OF AUTHORITIES ......................................................................................................... iii

    PRELIMINARY STATEMENT .................................................................................................... 1

    FACTUAL BACKGROUND ......................................................................................................... 4

    I.        Personal History .................................................................................................................. 4

              a.         Kathy’s Upbringing ................................................................................................ 4

              b.         Kathy’s Cycle of Abusive Relationships ................................................................ 5

    II.       NXIVM ............................................................................................................................... 7

              a.         Kathy’s Introduction to NXIVM ............................................................................ 7

              b.         Kathy Falls Under Raniere’s Spell ......................................................................... 8

              c.         Kathy’s Work at NXIVM – “Indentured Servant” ............................................... 10

              d.         Kathy is Subjected to NXIVM’s Cycle of Control and Punishment .................... 13

              e.         Kathy’s Attempts to Leave NXIVM ..................................................................... 15

    III.      The Indictment, the Plea Agreement and the Guidelines ................................................. 17

    IV.       Kathy’s Efforts to Rehabilitate and Start a New Life ....................................................... 21

              a.         Physical Separation from NXIVM........................................................................ 22

              b.         Therapy and Self-Reflection ................................................................................. 22

              c.         Reconnecting with Family .................................................................................... 25

              d.         Work ..................................................................................................................... 27

              e.         The Road Ahead ................................................................................................... 28

    ARGUMENT ................................................................................................................................ 29

    A SENTENCE OF PROBATION IS SUFFICIENT PUNISHMENT ......................................... 29

    I.        The Circumstances of the Offense Are Mitigating Because Within NXIVM, Kathy
              Lacked Power And Was Repeatedly at the Receiving End of the Organization’s Coercive
              Tactics ............................................................................................................................... 30

                                                                            i
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 3 of 45 PageID #: 20813




    II.       Incarceration is Not Needed to Prevent Recidivism or Achieve Specific Deterrence
              Because Kathy Has Denounced NXIVM and is Rebuilding her Life .............................. 33

    III.      Incarceration is Not Needed to Promote Respect for the Law or Achieve Just Punishment
              or General Deterrence ....................................................................................................... 36

    IV.       The Needs of Kathy’s Family Weigh in Favor of a Non-Custodial Sentence .................. 38

    CONCLUSION ............................................................................................................................. 39




                                                                        ii
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 4 of 45 PageID #: 20814




                                                  TABLE OF AUTHORITIES

                                                                                                                                 Page(s)

    Cases

    Gall v. United States,
            552 U.S. 38 (2007) ...................................................................................................... 36, 37

    Mistretta v. United States,
           488 U.S. 361 (1989) .......................................................................................................... 33

    Pepper v. United States,
          562 U.S. 476 (2011) .............................................................................................. 29, 34, 36

    United States v. Al Halabi,
           563 F. App’x 55 (2d Cir. 2014) ........................................................................................ 29

    United States v. Blake,
           89 F. Supp. 2d 328 (E.D.N.Y. 2000) ................................................................................ 34

    United States v. Bryson,
           229 F.3d 425 (2d Cir. 2000).............................................................................................. 34

    United States v. Cavera,
           550 F.3d 180 (2d Cir. 2008).............................................................................................. 29

    United States v. Coello,
           415 F.Supp.3d 306 (E.D.N.Y. 2019) ................................................................................ 38

    United States v. Cosme,
           No. 06-cr-608 (JBW), 2010 WL 276599 (E.D.N.Y. Jan. 19, 2010) ................................. 33

    United States v. Husein,
           478 F.3d 318 (6th Cir. 2007) ............................................................................................ 39

    United States v. K,
           160 F. Supp. 2d 421 (E.D.N.Y. 2001) .............................................................................. 34

    United States v. Maier,
           975 F.2d 944 (2d Cir. 1992).............................................................................................. 36

    United States v. Nesbeth,
           188 F. Supp. 3d 179 .......................................................................................................... 38

    United States v. Singh,
           877 F.3d 107 (2d Cir. 2017).............................................................................................. 29

                                                                      iii
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 5 of 45 PageID #: 20815




    Statutes

    18 U.S.C. § 1546(a) ...................................................................................................................... 18

    18 U.S.C. § 3553(a) (2012) ............................................................................................... 29, 38, 39

    28 U.S.C. § 994(j) ......................................................................................................................... 33



    Rules

    Fed. R. Crim. P. 32 (i)(3)(B) ......................................................................................................... 19

    U.S.S.G. § 2L2.1 ..................................................................................................................... 18, 19

    U.S.S.G. § 5C1.1........................................................................................................................... 34




                                                                          iv
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 6 of 45 PageID #: 20816




                                    PRELIMINARY STATEMENT

           Kathy Russell is before Your Honor because of serious mistakes that she made. As she

    explains in her attached letter to the Court, she ignored her own moral compass and committed

    crimes. See Exhibit D. She falsified immigration documents to help an individual come to the

    United States for the purpose of working for NXIVM. She also engaged in other illegal conduct:

    in 2004, she drove a non-citizen using false documents across the US-Canadian border, and in

    approximately 2005, played a role to help others impermissibly access someone else’s computer.

    The extent of Kathy’s remorse for her participation in these crimes, and indeed her entire 17-year

    affiliation with Raniere and NXIVM, cannot be overstated. She is profoundly sorry. She hopes

    that she can make amends to her family – in particular, to her son who she abandoned at age 12 –

    and to the many people who were hurt by the organization that she helped support. While

    denouncing Raniere and NXIVM without hesitation, Kathy blames no one else for her mistakes

    and takes full responsibility for her criminal conduct.

           The United States Sentencing Guidelines recommend a sentence of 6 to 12 months. Two

    powerful reasons warrant a modest variance and imposition of a term of probation. In the

    alternative, because Kathy’s offense level is 10, and her guidelines are within Zone B, this Court

    may, without even granting a variance, substitute a term of home confinement for the minimum

    term of imprisonment.

           First, the circumstances of Kathy’s criminal conduct are extraordinarily mitigating. This

    Court should consider that, like so many who fell prey to Raniere’s influence, Kathy’s loyalty to

    NXIVM was secured and maintained through a systemic pattern of manipulation, coercion, and

    punishment. She was worked to the bone, barely paid living wages, starved and psychologically

    abused. Simply put, for most of her time with NXIVM, Kathy was at the receiving end of a



                                                     1
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 7 of 45 PageID #: 20817




    brutal diminishment of her personhood and deliberately kept ignorant as to many of NXIVM’s

    darkest secrets, including, most significantly, DOS. While this in no way excuses her own

    conduct, it is nonetheless highly relevant in determining the appropriate sentence. And while

    many of the women in this case – both co-defendants and victims alike – share this history of

    abuse, Kathy was particularly psychologically vulnerable to Raniere’s manipulative tactics. As

    the attached psychological evaluation explains, because of her upbringing and past abusive

    relationships, Kathy was unusually susceptible to his tactics. Also, unlike some of her co-

    defendants, she had neither money nor fame, and simply lacked the economic means to escape.

           Second, and perhaps most importantly, a term of probation is warranted because, since

    her arrest, Kathy has made a psychological transformation. She has come to understand that

    what kept her captive was a lie and now knows that the man she spent years blindly worshipping

    is, in fact, “likely a psychopath.” Exhibit C at 9. In the years she has spent on pretrial release,

    Kathy has worked hard to escape NXIVM’s influence, to examine the psychological

    vulnerabilities that made her susceptible to Raniere’s coercive tactics, and to rebuild a healthy

    and sound future for herself and her son. After her guilty plea, Kathy moved to Georgia, away

    from everything and everyone she had known in Albany. She replaced her NXIVM family with

    her actual family, rebuilding her relationship with her adult son, Silas, and her sister, Kelly.

    Despite poor odds, she found a job and created a consulting company with her son so that they

    could support themselves financially with the hope of buying a house together in North Carolina

    where Silas can finish his education.

           More than that, her rehabilitative efforts have focused inwards. In the three years since

    her arrest, Kathy has dedicated endless hours to self-reflection, both on her own and in therapy,




                                                      2
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 8 of 45 PageID #: 20818




    to “identify and resolve any personal issues that might have contributed to the choices that led to

    her current legal circumstances.” Exhibit A (Amy Heesacker Letter dated February 10, 2020).

           Many can vouch for Kathy’s rehabilitation. Kathy’s close and intimate circle of friends,

    her son, and her sister, attest to her newfound understanding of how Raniere’s destructive and

    deceptive tactics trapped her and so many others. In their letters, attached as Exhibit A, they

    attest that her progress, while self-directed and determined, has been hard earned. Kathy’s

    treating therapist also provides a powerful testament to Kathy’s transformative journey,

    emphasizing that “[i]t has been an honor to work with Kathy as she works diligently to better

    herself and to make strides towards being a productive and positive person in her community.”

    Exhibit A (Amy Heesacker Letter dated February 10, 2020). And Dr. Jessica Pearson, a licensed

    psychologist who has been previously appointed in cases in this district, conducted a forensic

    psychological evaluation, interviewing Kathy for over five hours on four different occasions and

    reviewing collateral material. Significantly, in her report attached as Exhibit C, Dr. Pearson

    concluded that Kathy “has developed significant insight into how and why she became

    vulnerable to Mr. Raniere and the intense psychological pressure placed on her by others in the

    group” and “has developed an understanding of how his teachings were used to manipulate her

    and others, and how they have led to lasting devastating effects on some of the people involved.”

    Exhibit C at 9.

           Given Kathy’s genuine progress and positive trajectory, any time in prison would be

    devastating. Not only would it cause lasting and irreversible psychological harm on a 62-year-

    old woman who has worked so hard to understand and overcome the root causes of her trauma

    and poor decision-making, but it would also disrupt the life of her son, whose future is now

    inextricably intertwined with hers. He says that the incarceration of his mother would be



                                                     3
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 9 of 45 PageID #: 20819




    psychologically “devastating” and “would make it impossible for [him] to continue [his]

    education in the way that [he] hope[s].” Exhibit A (Silas Bryant Letter). For many years,

    NXIVM kept them apart; the group thrived in part by severing its participants’ ties to those

    outside the organization. Kathy is now reconnected with her true family, and it is in her best

    interest and that of society to ensure that she continues on that path.

                                      FACTUAL BACKGROUND

       I.      Personal History

               a. Kathy’s Upbringing

            Kathy’s childhood was difficult. Born on November 22, 1957, in Jacksonville Florida,

    Kathy Russell is the oldest daughter of Gerden Russell, Jr. and Joan Wise. PSR ¶ 169. Kathy

    and her two younger sisters, Kelly and Patricia, were raised in a modest middle-class household.

    While Kathy’s parents worked hard to support the family financially—her father in the film and

    projection industry and her mother as nurse on an OBGYN floor of a hospital—the home was

    governed by strict rules and a marked lack of affection. See id. ¶¶ 169-170. Both parents

    suffered from psychological disorders, and they mistreated each other and their children. See

    Exhibit C at 2; see also PSR ¶¶ 169-170. Kathy’s mother struggled with depression and anxiety,

    attempted to take her own life when Kathy was just 10 years old, and received electric shock

    therapy treatment. See Exhibit C at 2. Kathy’s father suffered from borderline personality

    disorder and was prone to frequent mood swings and intense anger. Id.; see also PSR ¶ 169. He

    had difficulty expressing love or affection of any kind and struck his children with a belt for the

    slightest rule violation. Even more painful, however, was the continuous verbal and emotional

    abuse that both parents doled out – berating their daughters’ intelligence or capabilities at every

    opportunity. See PSR Second Addendum ¶ 170 (Kathy’s “father often yelled at his children,



                                                      4
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 10 of 45 PageID #:
                                  20820



 especially when any of them asked for homework help”). As a result, from an early age, Kathy

 grew up fearful in her own home, craving emotional care and outward expressions of love. See

 Exhibit C at 2 (“Ms. Russell reported a difficult childhood with parents who were ‘addicted to

 substances’ (prescription medications) and were emotionally unavailable.”).

        After her parents divorced when she was 14, Kathy moved in with her father, who she

 considered the lesser of two evils at the time. See PSR Second Addendum ¶ 170. But when she

 was 16, she and her father were in a near-deadly car accident after a drunk driver side-swiped

 their car on a bridge. See PSR ¶ 170. While Kathy suffered a minor head injury and was in the

 hospital for a few days, the accident left her father unconscious for nearly two weeks. See id. He

 had traumatic brain injury and had to re-learn how to speak and walk. Kathy was his nurse and

 caretaker, but the accident turned her father even more belligerent and emotionally violent. See

 Exhibit C at 2-3; see also PSR ¶ 170; PSR Second Addendum at 1.

        As soon as she was able, Kathy started a new life on her own. After graduating from

 high school in 1975, Kathy moved out of her father’s house and rented a room from a friend in

 Jacksonville, Florida. The next year Kathy enrolled in Florida State College but left after just

 two semesters. PSR ¶ 187. Without any significant financial support from her family, Kathy

 had to work and landed a job at the front desk at an animal hospital. She soon discovered that

 the hospital’s accountant was stealing money. When she told her boss, he gave her the position.

 This was Kathy’s first experience managing a company’s books; she learned the basics of

 accounting on the job. Kathy continued to work in accounting for the rest of her career.

            b. Kathy’s Cycle of Abusive Relationships

        Sadly, Kathy had trouble maintaining supportive and healthy adult relationships. In

 Florida, Kathy began her first significant relationship with a man named Robert O’Sullivan



                                                  5
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 11 of 45 PageID #:
                                  20821



 (“Bob”) in 1980. Bob was an alcoholic and, over time, became physically and emotionally

 abusive towards Kathy. See Exhibit C at 3; see also PSR ¶ 174. She wanted to leave him but

 feared being alone and unable to support herself. And in 1981, Kathy moved to Anchorage,

 Alaska with Bob to live near his brother. PSR ¶ 174. Kathy was eager to leave Florida and

 hoped that moving near family would cause Bob to become “less violent and more responsible.”

 Exhibit C at 3; see also PSR ¶ 174. The opposite occurred. On their cross-country drive to

 Anchorage, Bob threatened Kathy with a knife and knocked her to the ground during a violent

 outburst. See PSR ¶ 174. The physical abuse and erratic outbursts continued after they arrived

 in Alaska, and within two years of moving, Kathy finally ended their relationship. Exhibit C at

 3.

        By the mid-1980s, Kathy started working as an accountant at M-W Drilling, Inc., where

 she met Randolph Bryant (“Randy”). When she became pregnant, they planned to marry despite

 challenges in the relationship. Although Kathy miscarried, she went forward with the

 engagement. One week before the wedding, Randy for the first time became physically abusive,

 knocking Kathy to the ground. See Exhibit C at 3. While Kathy briefly considered leaving

 Randy, she feared being alone and unable to support herself, and naively believed that the abuse

 had been an aberration. See id. (Kathy “stated that she had told herself that she would never be

 with someone who was abusive, but she described that the fear of not being able to support and

 care for herself outweighed that intention”). Sadly, Randy continued to emotionally, verbally,

 and physically abuse Kathy throughout their marriage. Id. Kathy tried her best to salvage, or at

 least manage, her marriage, including by seeking therapy for several years. PSR ¶ 180.

        In 1990, Kathy gave birth to their son, Silas. Exhibit C at 3. When Silas was four, Kathy

 finally sought a divorce from Randy; she could not tolerate his abuse any longer, and the two



                                                 6
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 12 of 45 PageID #:
                                  20822



 disagreed sharply over parenting styles. See PSR ¶ 175. While the court gave Kathy and Randy

 joint custody, Silas primarily lived with Kathy until he was 12 years old. Exhibit C at 3-4.

    II.      NXIVM

             a. Kathy’s Introduction to NXIVM

          Kathy learned about NXIVM from her hairdresser. It was 2001, and at the time, Kathy

 was struggling both personally and professionally. She was working long hours at a job that she

 was on the brink of losing, while also juggling the demands of single parenting. She worried that

 if she did not seek help soon, she would end up like her mother – depressed and alone.

          Telling her that NXIVM could help her become happier and more fulfilled, Kathy’s

 hairdresser enrolled her in a 16-day “intensive” in Anchorage, Alaska. Kathy quickly fell under

 the group’s spell. She believed that the course’s teachings empowered her to look at life through

 a different and more thoughtful lens; it infused daily acts with greater meaning. Kathy signed up

 for another intensive, and later that summer, in August 2001, flew to Albany for her second

 course. There she met NXIVM’s founding members, including Raniere, Nancy Salzman, and

 Lauren Salzman. In December of that year, Kathy attended a multi-day course on rights and

 privileges taught by Rainere in Albany. Kathy walked away from the course not only with a new

 belief system, but also with the drive and passion to dedicate more time to what she thought was

 a transformational organization. Kathy was also decidedly fixated on Raniere, who she believed

 was brilliant and who paid her particular attention.

          In early 2002, Kathy participated in additional trainings in Albany, many led by Nancy

 Salzman. During this time, Kathy also began developing an intimate relationship with Raniere.

 At the time, she believed that he had the unique ability to put her emotions on an “overhead

 projector” and truly see everything inside of her. Given her past abusive relationships, this made



                                                  7
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 13 of 45 PageID #:
                                  20823



 her feel special. By March 2002, Raniere had initiated a sexual relationship with Kathy. A few

 months later, Nancy Salzman asked Kathy to move to Albany and work full time as a

 bookkeeper for NXIVM.

        There were plenty of reasons to turn down the job. For one, Silas refused to move to

 Albany, opting to stay with his father in Alaska. Thus, moving to Albany would mean leaving

 her son in Randy’s custody. Not only that, but her compensation would fall off a cliff. At her

 job in Alaska, Kathy made $40/hour, earned a 401(k), and enjoyed other benefits including 6-

 weeks’ vacation. NXIVM offered her just $15/hour to be an independent contractor, with no

 benefits whatsoever. Nevertheless, Kathy pushed the obvious negatives out of her mind; she was

 singularly focused on getting closer to Raniere and was desperate to belong to a community that

 she perceived to be welcoming and thoughtful and, on its face, was dedicated to self-

 improvement and improving the world. In July 2002, Kathy accepted the job.

            b. Kathy Falls Under Raniere’s Spell

        When Kathy first moved to Albany, she was completely enthralled with Raniere. At the

 start of their sexual relationship, Raniere asked Kathy for a five-year commitment “just to him.”

 Exhibit C at 4. While she initially had reservations, Raniere explained the commitment in such a

 “clear, logical way” that Kathy ultimately agreed. Id. Kathy believed that Raniere was uniquely

 able to fill the emotional void she felt inside and boosted her self-esteem. While Kathy now

 understands that Raniere was a master of manipulation, and made her feel loved only so he could

 ultimately control her, at the time the care and attention was intoxicating.

        As with many others in the organization, when Kathy moved to Albany, Raniere

 demanded from her damaging “collateral” to prove her commitment and severe weight loss. As

 far as collateral, Raniere taped Kathy making incriminating statements about an incident in



                                                  8
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 14 of 45 PageID #:
                                  20824



 Alaska – and held it over her head for years to come. As to her weight, Kathy weighed just a

 little over 100 pounds when she arrived in Albany. Raniere told Kathy she should get down to

 her high school weight of 85 pounds. Kathy struggled to lose over 10 pounds to meet Raniere’s

 demands.

        Around 2004, about two years into their relationship, Raniere asked Kathy to make a

 lifelong commitment to him – a promise that she would never be with another intimate partner.

 Exhibit C at 4. Kathy agreed. But Raniere controlled every aspect of their relationship, and

 generally left Kathy wanting more. Raniere determined “when they saw each other, when they

 had sexual relations and how, and who was allowed to know or participate.” Id. Nevertheless,

 Kathy cherished what she thought was Raniere’s ability to give her deeper and unique insights

 into herself. Little did she know, Raniere would soon twist her desperate need to be loved into a

 tool of coercion.

        In 2005, just a year after demanding a lifelong vow, Raniere began to phase out his

 sexual relationship with Kathy. He stopped it altogether in 2008, but still demanded that Kathy

 honor her commitment to him. As a result, Kathy found herself “begging [] to speak” and

 “spend time” with Raniere, but he generally refused to engage with her directly. Exhibit C at 4.

 For more than a decade, Raniere kept Kathy at arm’s length, and communicated with her only

 when he needed something, refusing to respond to her texts and emails. By 2009, Kathy emailed

 Raniere in despair, explaining that their “moments of connecting” were “so infrequent” that they

 felt “almost non-existent.” Exhibit B-1. Kathy went on to explain: “[I]t feels like I cry into the

 night and no one comes,” and asked, “Is there something I can do different?” Id. Sadly, Raniere

 held out the possibility of renewing their relationship as a way to manipulate Kathy. He

 suggested that if she just worked harder, if she just did better, if she just “healed” her “ethical



                                                    9
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 15 of 45 PageID #:
                                  20825



 breaches,” maybe he would come back to her. Of course, that was a lie: no matter how hard she

 tried, he never resumed a relationship with her and in fact, after 2008, he rarely interacted with

 her directly.

             c. Kathy’s Work at NXIVM – “Indentured Servant”

         Kathy felt trapped. She was distraught by Raniere’s rejection. On top of that, her work

 was incredibly difficult. In her off- and on-again role as NXIVM’s bookkeeper, Kathy engaged

 in a variety of tasks almost always at the direction of others – Raniere, Clare Bronfman or Nancy

 Salzman. As multiple witnesses made clear, nothing could get done without Raniere’s approval

 or sign off, and that rarely came. Those outside the organization could see that Kathy lacked the

 resources and authority to get work done. As Paul Fruci, the outside accountant who worked

 with NXIVM over the years, writes in his attached letter, “Kathy was way underpaid for the skill

 and responsibility level and . . . was denied resources that she needed and as a result couldn’t get

 things done that she was trying to accomplish on behalf of others.” See Exhibit A (Paul Fruci

 Letter). Indeed, any sort of order Kathy tried to impose in the accounting department was

 repeatedly rejected as not the “NXIVM” way.

         The most compelling witness to Kathy’s workplace challenges is her own son, Silas. In

 2011, Silas moved to Albany and worked with his mother for NXIVM. He was 21, not doing

 well in school, and needed to leave Alaska. Working alongside his mother in NXIVM, he was

 clear-eyed about how NXIVM was exploiting her. As he told Dr. Pearson, on the most basic

 level, Kathy was “severely underpaid and overworked,” and as a result, “highly stressed.”

 Exhibit C at 6. Kathy was “guilted or punished into working seven days a week, nine to twelve

 hours a day, while making subpar wages compared to others working in the same office.”

 Exhibit A (Silas Bryant Letter). If Kathy “did not do something, those working at NXIVM



                                                  10
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 16 of 45 PageID #:
                                  20826



 would berate her, threaten to fire her, or come up with a consequence that she was required to

 suffer.” Exhibit C at 6. See, e.g., Exhibit B-6 at 1 (Clare to Kathy: “[E]ither you must be

 incompetent or you are highly inefficient.”); Exhibit B-2 (Lauren to Kathy: “Do you like and

 want to keep your job? If so, I think it’s important to consider that you’re not meeting the

 conditions of satisfaction of the people you’re working for.”).

        What troubled Silas more, perhaps, was that Kathy was “fearful and anxious and unable

 to stand up for herself.” Exhibit C at 6. Silas himself tried to speak up for this mother and, in at

 least one instance, confronted Clare Bronfman when he observed her treating Kathy

 “horrendously.” Id. at 7. Silas asked Clare to treat his mother with “respect,” see Exhibit B-6 at

 1, but Clare simply dismissed his concerns, told him that “this is how things work in the

 program,” and eventually punished Kathy for the whole episode. Exhibit C at 7. In fact, Clare

 berated and demeaned Kathy regularly. On one occasion, Kathy asked Clare if she could work

 from home during an especially busy period in 2015, to which Clare responded: “You are asking

 me to make your life easier yet, you refuse to consider anyone else – I feel like doing this

 supports your suffering and entitlement.” Exhibit B-8 at 1.

        In his view, Kathy had been conscripted to “indentured servitude.” Exhibit C at 6.

 Because of this mistreatment, Silas urged his mother to leave. But Kathy lacked the financial

 resources, support system, and psychological wherewithal to do so. See, e.g., id. at 7 (Kathy

 “had no other social contacts or supports”). As Silas explains:

        I wanted her to leave NXIVM. But neither she nor I had the economic means to
        make it happen. I told her to work another job on the side, without telling anyone,
        and save up money so she could have the means to leave for good. But somehow
        NXIVM had stripped her of all self-confidence. I could see the fear in her actions
        and behaviors, always worried about what Keith and Clare would say or do. And
        in reality, she worked so much there is no way she could have actually taken on
        another job. If she had stopped working so much for NXIVM, they would have
        noticed and punished her. They completely controlled her and her time.

                                                  11
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 17 of 45 PageID #:
                                  20827




 Exhibit A (Silas Bryant Letter).

        Indeed, Kathy’s financial situation was precarious. Not only did she lack the financial

 resources to leave NXIVM, but she could not make ends meet on a day-to-day basis. See Exhibit

 C at 7. As reflected in emails Kathy sent to Nancy, Raniere, and Clare, she was often unable to

 make rent, pay for her car, pay her credit card, or even see a doctor. In 2010, Kathy emailed

 Raniere, explaining that she was “out of money,” “living hand to mouth,” and that she “didn’t

 live this way before [she] came and [she didn’t] want this to continue.” Exhibit B-3. Five years

 later, nothing had changed. In 2015, Kathy wrote to Nancy Salzman in distress:

        I need to make a decent living, have health insurance, a decent car and to be able
        to put money away for when I get older. When I came here I had a fair amount of
        money…making $15/hr coming from $39/hr was difficult…and eventually all the
        money was gone. I am flat broke, my car is about to die… and I really don’t have
        anything.

 Exhibit B-9 at 1. But the response from Raniere and Nancy was uniform: Kathy needed to get

 through her own “limitations” and account for her many “ethical breaches” before she could

 make a fair wage.

          Not only was Kathy working incredibly long hours for subpar wages and zero benefits,

 but she often was not even paid the little she had been promised. Clare Bronfman routinely

 docked Kathy’s pay for hours that she had worked, for no discernable reason. See Exhibit C at 3;

 see also Exhibit B-4 at 1-2 (Clare to Kathy: “I am concerned your need for money right now is

 not helping you to look at this with the companies best interest and what is integrist [sic]”; Kathy

 to Raniere: “Clare wants to discount my billing by 15 hours. I find this unreasonable. This is not

 the first time she has deducted hours.”).




                                                 12
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 18 of 45 PageID #:
                                  20828



            d. Kathy is Subjected to NXIVM’s Cycle of Control and Punishment

        In truth, once Raniere decided that he no longer desired Kathy sexually, she was always

 in the doghouse, whether in the context of her bookkeeping work or otherwise. She was told, for

 example, that she was too “fearful” or that she played the “victim,” and that these shortcomings

 were “ethical breaches” she needed to heal and be punished for. Kathy was required to write

 “breach plans,” exploring the reasons for her behavior and creating a plan to address her

 supposed deficiencies, including by committing to certain “penances” or self-inflicted

 punishments. See PSR ¶ 110. Just one example of this occurred in 2016, when Kathy sent

 Nancy “a plan to address the destruction [she] created due to [her] inability to complete

 projects.” Exhibit B-12 at 1. Kathy’s plan included proposed penances if she failed to meet the

 project goals, including losing pay, running errands for her peers, planking daily, and reducing

 her calories by 200 each day for a week. Id. at 1-2. Nancy responded that Kathy didn’t

 “understand [her] issues”; she claimed that Kathy had caused irreparable damage, told her she

 needed to “feel the pain of what [she’d] done,” and directed that Kathy should be “happy to do

 whatever it takes.” Id. at 1. Kathy was required to spend hundreds of hours on punishments,

 including, for example, writing letters to multiple insiders of NXIVM explaining a purported

 business failure. Exhibit C at 5.

        The punishment and controls extended to every aspect of Kathy’s life. NXIVM dictated

 how much she could weigh, what types of foods she could eat, who she could communicate with,

 and even how often she could dance. At one point, Clare chastised Kathy for owning a cat,

 telling her that she did not make enough money to have a pet and that she would need Raniere’s

 permission to keep her beloved animal. See Exhibit C at 5. As her current therapist explains,

 Kathy endured these “frequent harsh punishments . . . in part due to her belief that these might



                                                 13
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 19 of 45 PageID #:
                                  20829



 make her a better person and because she thought at the time that they were deserved.” Exhibit

 A-5 at 1. Kathy now understands that her feelings were merely a product of NXIVM’s

 intentional distortion of reality, which thrived on her “low sense of self-worth and vulnerability.”

 See id.

           The NXIVM leadership used Kathy’s supposed “limitations” not only to punish her

 psychologically, but also to strip her of her responsibilities. In fact, Kathy was fired or demoted

 on several occasions, including in 2006, 2014, and 2015. In 2010, Lauren Salzman threatened:

 “If you don’t evolve certain limiting patterns, it will eventually result in you being replaced with

 someone more efficient who does not have obstruction issues.” Exhibit B-2. After Clare fired

 Kathy in 2015, she emailed Kathy: “My greatest hope is you can evolve some of the problems in

 working with others so you can create a viable cash flow for yourself . . .” Exhibit B-10. Kathy

 was made to believe that she had personal “issues” that needed to be resolved before she could

 continue working for NXIVM. Sadly, she internalized the denigration, and came to believe that

 she was inadequate and unworthy. See Exhibit B-9 at 2 (Kathy to Nancy: “I realize that you

 have been quite kind in helping me see that my inability to work with others and narcissistic

 tendencies are what removed me from my job.”); see also Exhibit B-7 at 1 (Kathy to Raniere: “I

 realize I have caused this and created much of this problem by my need to control, blame,

 complain and my indulgence in fear”); Exhibit B-5 (Kathy to Raniere: “[W]hile I’m working to

 evolve my anger and control…I seem to be unable to find what would be the thing to help me get

 past this and evolve this.”). At its core, of course, these strategies were deliberately coercive,

 manipulating Kathy’s mindset to believing that the problems were entirely her fault. See Exhibit

 B-11 (Kathy to Nancy: “It seems I’m really out to lunch…and I’m the one who is wrong here.

 Everyone else sees this but me. I really want to go…”). Silas, Kathy’s son observed these



                                                  14
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 20 of 45 PageID #:
                                  20830



 tactics of “hiring, firing, and low pay” as a means to “manipulate and trap [Kathy] to remain

 working for NXVIM.” Exhibit C at 7.

        What little role Kathy had in NXIVM’s programming was also stripped away from her as

 punishment. Around 2014, after several years of threats, Kathy’s status as a low-tier proctor in

 NXIVM’s programming was placed on “inactive” status, because of her “fear” issues. See

 Exhibit B-7 at 2 (Kathy to Raniere: “[W]hile I strive to correct my breach, my immature

 emotionality, my lack of communication, and correct my controlling behaviors...I'm not getting

 through it. I have a consequence of not getting through my issues and have been placed as

 inactive Proctor.”). After that, Kathy never again held the position of proctor or coach.

        Desperate for approval, Kathy worked endlessly to get into the good graces of NXIVM’s

 leadership. But Kathy’s hard work and acknowledgment of her purported issues were never

 enough. See, e.g., Exhibit B-9 at 1 (Kathy to Nancy: “In someways over the last year, I have

 worked harder than I have before to change things in myself. In reality it wasn’t enough to make

 the difference.”). Kathy now realizes that her efforts never stood a chance – her supposed

 “breaches,” the punishments she endured, the rock bottom pay, the demotions, and the firings

 were all merely a means of controlling Kathy through calculated psychological manipulation.

            e. Kathy’s Attempts to Leave NXIVM

        While very much under the organization’s coercive yoke, in moments of lucidity, Kathy

 did try to leave NXIVM. Nearly every year, starting in 2009, Kathy expressed a desire to leave.

 In 2009, Kathy wrote to Raniere: “Each month for the last five months, I’ve written and

 rewritten emails about wanting to leave.” Exhibit B-13. Over a year later, in 2010, Kathy wrote

 again to Raniere: “I really don’t want to work under these conditions, and my initial impulse is to

 resign.” Exhibit B-4 at 1. The next year, in 2011, Kathy told Raniere once again that she



                                                 15
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 21 of 45 PageID #:
                                  20831



 thought it was best to “resign” and this time she asked for his “help.” Exhibit B-5. Two years

 went by, and no help was provided. In 2013, Kathy told Raniere that she was going to “look for

 another job” where she could “have insurance and make more money,” but admitted that she was

 “having difficulty finding a way out.” Exhibit B-7 at 2. A year went by, and nothing changed.

 In 2014, Kathy reached out, this time, to Nancy Salzman and told her it was “time to ask Keith’s

 permission to . . . resign with the company,” Exhibit B-14, explaining that her situation was

 “unfair” and that she was “not willing to do this anymore,” Exhibit B-15 at 1. Another year

 passed, and Kathy found herself no closer to getting out. In 2015, Kathy emailed Nancy again:

 “I don’t want to go through another year of this.” Exhibit B-16 at 2. By 2016, Kathy was still

 expressing the same sentiment. She wrote to Nancy: “I really want to go.” Exhibit B-11.

        In short, Kathy wanted to leave, she just didn’t know how – psychologically or

 financially. Desperate and trapped, she even contemplated suicide. Exhibit C at 4; see also PSR

 Second Addendum at 3. As Dr. Pearson explains, Kathy was “distraught that she didn’t have a

 relationship with [Raniere] anymore and felt trapped by living and working in the NXIVM

 community.” Exhibit C at 4. She contemplated killing herself because she believed she was not

 otherwise “able to leave,” id., and felt “out of options,” PSR Second Addendum at 3. But the

 notion that all of her actions had to benefit Rainere was so ingrained, that she did not act on those

 feelings because she could not think of a way to “kill herself that would not lead back to Keith

 Rainere.” Exhibit C at 4. In the end, at these darkest moments “even [Kathy’s] suicidal ideation

 and emotional distress was not more important than protecting Mr. Raniere.” Exhibit C at 9.

        Unlike many others involved in this case, who had wealth and/or powerful family

 connections, Kathy’s family was at a loss of what to do. They were deeply worried and afraid

 for her. As Kathy’s sister, Kelly, explains:



                                                  16
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 22 of 45 PageID #:
                                  20832



              [S]he was anorexic, lacked emotion, and spoke in a monotone voice. In talking to
              her, she appeared to have no control over her own life. I could tell she was being
              manipulated by others. I worried about Kathy. It seemed as if she was constantly
              being punished by others in NXIVM.

 Exhibit A (Kelly Russell Letter). Despite their concern, however, Kathy’s family didn’t

 know how to help. Kelly explains:

              There were a couple of times that our younger sister, Trisha, and I discussed how
              to get Kathy out of the cult. We didn’t have the knowledge nor the resources to
              intervene, and knew that it would be difficult to convince Kathy to leave because
              she had been brainwashed. Trisha and I felt hopeless, believing that one day
              Kathy would end up penniless and alone.

 Id.

              Given these circumstances, that Kathy did not leave Raniere and NXIVM on her own is

 not surprising. She lacked the psychological or financial resources to craft a viable exit strategy;

 nor did she have sophisticated family members to intervene and assist her. While her arrest has

 brought unbelievable pain and anxiety, she is now profoundly grateful that it finally allowed her

 to break free of Raniere’s devastating grip on her life. The criminal case was, perhaps, the only

 thing strong enough to save her.

       III.      The Indictment, the Plea Agreement and the Guidelines

              On April 20, 2018, the government indicted Raniere and Allison Mack. See ECF No. 14.

 Three months later, and 10 weeks after Kathy was subpoenaed to testify before the grand jury, on

 July 23, 2018, the government superseded, charging a racketeering conspiracy and adding four

 more defendants, including Kathy. See ECF No. 50. Kathy was arrested by the FBI on July 24,

 2018.




                                                     17
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 23 of 45 PageID #:
                                  20833



         On April 19, 2019,1 Kathy pled guilty to one count of visa fraud in violation of 18 U.S.C.

 § 1546(a). At the plea hearing, Kathy admitted to knowingly and intentionally presenting an

 employment letter to the United States Consulate in Mexico, in connection with a TN visa

 application for Loreta Garza Davila, that contained materially false statements regarding Ms.

 Garza Davila’s job description and salary. Specifically, Kathy admitted that, although she

 represented in the employment letter that Ms. Garza Davila was a management consultant for

 NXIVM, she was aware that Ms. Garza Davila spent most of her time working for a separate

 entity, Rainbow Culture Gardens. Further, Kathy admitted that she knew that Ms. Garza Davila

 was not keeping the full amount of the salary listed in the employment letter. Kathy accepted

 full responsibility for her actions, stating: “I know what I did was wrong, and I’m very sorry for

 the trouble I have caused. I compromised my own principles and I will have to live with that for

 the rest of my life.” Tr. of Plea 26:21-24, United States v. Russell et al., No. 18-CR-204-NGG

 (E.D.N.Y. April 19, 2019), ECF No. 756.2

         Pursuant to the plea agreement, the parties stipulated that, under the 2018 United States

 Sentencing Guidelines (the “Guidelines” or “U.S.S.G.”), the Guidelines provision applicable to

 the offense of conviction is § 2L2.1. The parties further stipulated that the following Guidelines

 provisions apply:

              •   Pursuant to U.S.S.G. § 2L2.1, the base offense level is 11.

              •   Pursuant to § 2L2.1(b)(1), because the offense was committed other than for

                  profit, three levels are reduced.


 1
   No significance should be attached to the fact that Kathy was the last defendant to plead guilty, compare ECF Nos.
 473, 944, and 1084 with ECF No. 756, as counsel reached out to the government in the hopes of reaching a
 resolution well before any of the defendants pled guilty.
 2
  As to the immigration fraud, Ms. Garza Davila is not a “victim” of the offense; indeed, Kathy filed the paperwork
 at her request. While Ms. Garza Davila was subsequently recruited into the “first line” of DOS, Kathy of course had
 no knowledge of DOS, nor of Ms. Garza Davila’s membership in it.

                                                         18
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 24 of 45 PageID #:
                                  20834



              •    Pursuant to § 2L2.1(b)(3), because Kathy knew, believed, or had reason to believe

                   that the visa was to be used to facilitate the commission of a felony offense, four

                   levels are added. Specifically, Kathy had reason to believe that Ms. Garza Davila

                   did not keep the full amount of the salary listed in the employment letter and that

                   instead, Ms. Garza Davila used some of the money to pay employees working at

                   Rainbow Cultural Gardens, whose income was not reported for state employment

                   taxes.

              •    Pursuant to § 3E1.1(a), because Kathy accepted responsibility, two levels are

                   reduced.

          Accordingly, the total offense level is 10. Kathy has no criminal history, so her Criminal

 History Category is I, resulting in a Guidelines range of 6 to 12 months’ imprisonment, within

 Zone B. The Probation Department adopted the Guidelines calculation stipulated by the parties

 in the plea agreement. PSR ¶¶ 150-161.3

          There is no material dispute between the parties about Kathy’s crimes. As set out in the

 government’s letter dated September 29, 2021, Kathy did engage in other criminal conduct for

 which she also accepts responsibility. Her role in that other conduct, however, was relatively

 limited.

                                        As both                        trial testimony

                       make clear, Kathy was not part of the planning at all. Ms. Keeffe, together

 with Nancy, Raniere, Lauren and others, discussed the scheme and arranged for the identification



 3
  Attached as Exhibit E are a copy of Kathy’s April 10, 2020 Objections to the PSR. We note that while we have
 certain objections to the findings in the PSR, we do not believe that this Court needs to resolve these objections
 “because the matter will not affect sentencing.” Fed. R. Crim. P. 32 (i)(3)(B) (Court may “determine that a ruling
 [on objections] is unnecessary either because the matter will not affect sentencing, or because the court will not
 consider the matter in sentencing”).

                                                          19
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 25 of 45 PageID #:
                                  20835



 to be produced. Kathy came into the picture only because Ms. Keeffe asked her to drive, and,

 when they got to the border, directed Kathy, much to her surprise, to proceed on her own with

 the identification and retrieve                         .4

          The circumstances surrounding Kathy’s involvement in the scheme to access the

 computer of James Loperfido in approximately 2005 are similar.




                                                                                                        Specifically,

 Kathy distracted Mr. Loperfido so that                              could access the computer and install a

 keylogger device.




 4
                   had been in a sexual relationship with Raniere beginning in late 2003. Both the government and
 the Probation Department suggest that after                     was back in the United States, Kathy later “reminded”
                 of “her assistance in transporting her across the United States border when Russell asked Dani to
 engage in sexual activity with Raniere and Russell.” See PSR ¶ 20; Government Sentencing Memo for Kathy
 Russell at 2 (ECF No. 1123). But at trial,                    testified that “Keith” asked her to join him and Kathy in a
 sexual encounter, Tr. 2418:9-23, and that Kathy never made an “explicit connection” between the border crossing
 and a three-way sexual encounter, Tr. 2419:11-20. In fact, Kathy has no memory of reminding                         that
 she brought her across the border in connection with any sexual activity with Raniere. Rather, as
 explained at trial, she just felt like she “should be grateful” and felt like “she owed them.” Id.
 5




                                                              20
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 26 of 45 PageID #:
                                  20836



           Kathy deeply regrets acquiescing to these requests and being involved in this additional

 misconduct.6

     IV.       Kathy’s Efforts to Rehabilitate and Start a New Life

           In the months after her arrest, Kathy was shell-shocked. While she had been with the

 organization for 17 years, there was still so much she had not known. As the government

 concedes, she had no knowledge of DOS, an organization that was completely hidden from her

 until its name was splashed across the news. Initially, she continued to believe in NXIVM,

 holding tight to its teachings and remaining loyal to Rainere. As the case proceeded, however,

 the cards began to fall. With separation from the community, and free from the constant

 manipulation, control, and coercion that had been exerted on her for more than 15 years, Kathy

 began to see and understand the truth. Through her review of the discovery, and in conversations

 with those close to her, as well as with counsel, she “became aware of numerous deceptions she

 had experienced by Raniere and others working with him at NXIVM.” Exhibit C at 9. “She

 described having her entire worldview shift and discovering that the man she gave a lifelong

 commitment to, who she believed was beyond human, was ‘likely a psychopath’ who had

 manipulated and used her and others.” Id. See also Exhibit A (Paul Fruci Letter (Kathy’s

 “legitimate life purpose for many years has turned into a cruel lie that destroyed both her

 personal and professional life.”)).

           This realization was devastating. Kathy understood that everything she had worked

 towards, everything she had sacrificed, everything she believed in, was all part of an ugly and

 destructive lie. Not only did Kathy begin to understand more clearly the conduct of those around


 6
   Kathy also was involved in the financial arrangements related to                      ’s visa. Specifically, Kathy, at
 the direction of the accountant for Sagitta LLC, did pay invoices that Sagitta LLC submitted to Moving
 Pixels. While Kathy was aware that the terms of            ’s visa required that he be paid by Sagitta LLC, she had no
 role in preparing that visa application or submitting it. She also did not create any invoices for        .

                                                            21
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 27 of 45 PageID #:
                                  20837



 her, but importantly, she also turned her scrutiny inwards. In the months and years after her

 arrest, she embarked upon a path of deep introspection and self-discovery, in which she began

 grappling in earnest with the profound errors she had made, the consequences of her blind

 devotion to Raniere and NXIVM, and the fact that the organization had done irreparable damage

 to so many people.

            a. Physical Separation from NXIVM

        When Kathy came to understand the true, nefarious nature of NXIVM and its

 community, she knew she needed to get far, far away. While Kathy had few people outside of

 NXIVM to whom she could turn, her sister Kelly Russell did reach out. After 16 years of very

 little contact, Kathy and Kelly “started talking regularly on the phone, texting, and visiting.”

 Exhibit A (Kelly Russell Letter). Understanding that Kathy had no money or means to support

 herself, Kelly offered Kathy her home in Georgia. Seizing on this much-needed ticket out of

 Albany, Kathy moved to Georgia in June 2019, and began to rebuild her life. See Exhibit A

 (Karen Abney Letter (Kathy “left her closest friends to put a physical distance between her and

 the negative influences in her life, to start life completely over in Georgia with her sister.”));

 Exhibit A (David Ashen Letter (Kathy’s “relocation to Georgia with her son has allowed her to

 build stronger bonds to her family, begin a fresh start, heal herself, and move away from the

 negative influence that was NXIVM.”)). The physical separation from the NXIVM community

 over the past two years, has provided Kathy with the space and time to reflect on her mistakes

 and move forward in a more positive direction.

            b. Therapy and Self-Reflection

        In Georgia, Kathy has had the physical and mental space to engage in “an ongoing period

 of exploration, realization and recovery.” Exhibit C at 9. Importantly, beginning in July 2019,



                                                   22
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 28 of 45 PageID #:
                                  20838



 Kathy has been working with a therapist to better understand the issues that led her to her current

 circumstances and “to continue her life goals of self-understanding and self-improvement.”

 Exhibit A (Amy Heesacker Letter dated February 10, 2020). According to Kathy’s therapist,

 Kathy has been “consistently and actively focused on her goals in and outside of sessions,” id.,

 and is “work[ing] diligently . . . to rebuild her sense of self-worth and confidence while also

 contributing as a productive member of society.” Exhibit A (Amy Heesacker Letter dated May

 8, 2021). The hard work that Kathy is doing in therapy is real. According to Ms. Heesacker,

 Kathy “does not shy away from exploring the more difficult moments of her life and addressing

 how she might continue to improve her psychological functioning.” Id. This effort has paid off.

 Her therapist explains:

        Through therapy and her own work outside of therapy, Kathy has grown in her
        understanding of how her trauma history in both her family of origin and past
        intimate relationships may have contributed to her low sense of self-worth and
        vulnerability at the time she chose to become involved with the organization . . .
        In the process of coming to terms with how her poor self-esteem may have
        contributed to her decision in the past, Kathy has begun to rebuild her sense of
        self-worth in the world and is clear about her life’s purpose of working to improve
        people’s lives in society.

 Exhibit A (Amy Heesacker Letter dated February 10, 2020).

        Dr. Pearson, who conducted a psychological evaluation of Kathy, has shared similar

 sentiments:

        She has developed an understanding of how [Raniere’s] teachings were used to
        manipulate her and others, and how they have led to lasting devasting effects on
        some of the people involved. She developed an understanding that Mr. Raniere
        was after satisfying his own sexual desires and need for power and control and
        used her and others, including underage girls, to do so. Ms. Russell has
        acknowledged that the process of developing insight and understanding has been
        painful but has led her to a more positive and peaceful place in her life. She
        reported being grateful for the opportunity to better understand herself and re-
        establish a close connection with family, especially her son.

 Exhibit C at 9-10.

                                                  23
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 29 of 45 PageID #:
                                  20839



        Kathy’s family and friends have seen first-hand how Kathy has dedicated herself to

 understanding her past mistakes and ensuring that she is well-equipped to live a positive, honest

 life going forward. Silas explains:

        [S]he now realizes how blinded she was by Keith and the way he utilized the
        program for his own personal gain under the guise of ethical personal
        development. Her introspection from what happened is an everyday occurrence,
        as she tries to understand the weaknesses that allowed her to be manipulated. She
        often reflects on how she made rationalizations for Keith, believing the lie he
        wove into the program that his actions were the pinnacle of good or ethical. I see
        her say how stupid she was for not being able to question the negative aspects of
        NXIVM. She wishes she had seen how nefarious Keith was and that she had
        never allowed herself to be so easily controlled.

 Exhibit A (Silas Bryant Letter). Similarly, Kathy’s sister, Kelly, is proud that “Kathy has

 denounced Keith Raniere and has worked hard on her self-improvement.” Exhibit A

 (Kelly Russell Letter). Kelly explains:

        Kathy is working on herself and figuring out why and how she got involved in
        this criminal activity. She has told me how much she regrets her mistakes and her
        involvement with NXIVM. She has been able to find a therapist with whom she
        connects and through therapy is working on understanding her own behavioral
        patterns and how she let herself be manipulated by Keith Raniere. On her own
        time, she spends a great deal of time reading psychology and philosophy to help
        improve herself. Through this work, she finally sees Keith for what he really is. I
        firmly believe that knowing what she knows now, she will never be involved in
        any wrongdoing again.

 Id.

        Kathy’s friends have also shared their feelings on the difficult hurdles Kathy has

 overcome in processing and learning from her experiences. As a friend notes, “Kathy has

 expressed how she wished she had questioned more of what was going on, so she could

 have seen what her efforts were supporting and wished that she hadn’t trusted so

 naively.” Exhibit A (Karen Abney Letter); see also id. (Angel Smith Letter (“Kathy has

 talked . . . about the deep remorse she has for the mistakes that she made. Kathy regrets



                                                 24
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 30 of 45 PageID #:
                                  20840



 that she did not question Raniere more. She regrets how little she knew about what was

 really going on. Kathy deeply regrets the effect that NXIVM had on the people involved,

 that people lost their jobs, their livelihood, their sense of trust in the world, that families

 were split up and pitted against each other.”)).

         They are in fact uniform in expressing awe at her strength and her transformation.

 Mr. Ashen writes:

         It has been a long and difficult process for her to unwind and “pull apart” the level
         of deception and damage that occurred. I have watched Kathy struggle with
         reconciling her high value of doing good against some of the actions that
         occurred, actions that were not aligned with these values. Over the past three
         years, I have been amazed by the work she has done, with the help of her
         therapist, and how she clearly comprehends what happened and how she
         participated. It sometimes saddens me to talk with her and understand the years
         of manipulation and pain she endured, but I am always so surprised by the depth
         of her wisdom and how she has come to terms with what seems to be Keith’s bad
         intents. Her strength in both facing the reality of what happened and her ability to
         move on continues to amaze me.

 Exhibit A (David Ashen Letter).

         Put simply, Kathy has “deep regret at not realizing the reality of [Raniere’s] behavior and

 intention,” Exhibit C at 9, and is “highly motivated to develop a clear understanding of herself

 and her behaviors, in order to uphold the values she would like to define her life [by] now,”

 Exhibit A (Dolores Wilson Letter).

             c. Reconnecting with Family

         Kathy has not only worked on rebuilding her sense of self since her arrest, but she has

 also focused on rebuilding her relationship with Kelly and Silas. Reconnecting with her family

 has been the most meaningful and gratifying experience of Kathy’s life. While this prosecution

 has been incredibly painful, she recognizes that it gave her her family (and her life) back. For

 this, Kathy is grateful.



                                                    25
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 31 of 45 PageID #:
                                  20841



         Over the past three years, Kathy and Kelly have become sisters again. While Kelly lives

 and works in Savannah, Georgia, she visits Kathy regularly. Especially during the early visits,

 the sisters spent time catching up on decades of their lives and reflecting on where Kathy went

 wrong. Kathy and Kelly also spent time relaxing at home together, hiking in the nearby woods,

 or just walking around the neighborhood. Kelly has been a true blessing to Kathy, bringing her

 critical support and stability during the most difficult time in her life.

         Kathy, too, has played a prominent role in Kelly’s life. In July 2019, Kelly’s husband

 tragically and unexpectedly passed away. Kathy quickly became the primary support system for

 Kelly. See Exhibit A (Kelly Russell Letter (“Kathy helped me in so many ways during the most

 difficult time of my life.”)); see also id. (Angel Smith Letter (“I’ve observed Kathy as she relies

 on her family and allows them to now rely on her. I’ve watched Kathy be there for her sister in

 her sister’s greatest time of pain, after losing her partner.”)). Kathy introduced Kelly to her

 therapist, who Kelly now also sees regularly to work through the difficult issues that she is

 facing. As Kathy’s friend put it: “[B]oth sisters continue to grow closer and closer, supporting

 each other despite their own losses.” Id. (Karen Abney Letter).

         Soon after she was arrested, Kathy also began rebuilding her relationship with Silas. Silas

 explains that his mother’s arrest “began a process of reckoning and healing that has been painful

 but has built a foundation for a future together.” Id. (Silas Bryant Letter). Taking pity on his

 mother, who “barely had anyone after she was arrested and was left with no money or means to

 care for herself,” id., Silas visited her the winter after her arrest and helped her move to Georgia

 in 2019. In 2020, Silas was struggling to find good employment, and Kathy encouraged him to

 move into her sister’s home with her in Georgia. After so many years apart, Kathy desperately




                                                   26
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 32 of 45 PageID #:
                                  20842



 wanted to make amends with Silas—to finally be there for him, to support him, and to help him

 “pursue new opportunities.” Id. Silas decided to move to Georgia in August 2020.

        Over the past year, Silas and Kathy have worked hard to develop a solid relationship.

 They spend “time together to understand and learn about each other.” Id. They also spend time

 just relaxing together – cooking, going on daily walks, watching TV, playing badminton, and

 engaging in deep conversation. See id. Together, they are “trying to build [them]selves up and

 enjoy this new step in life.” Id. Now, Silas explains:

        I finally have my mother back in my life in a meaningful way. She is helping me
        get back on my feet, financially and psychologically. We are each other’s
        principal support systems.

 Id.

            d. Work

        Kathy left NXIVM without any money to her name. For months she struggled to

 get back on her feet, doing occasional consulting and bookkeeping work for friends just

 to get by. In July 2020, Kathy obtained freelance consulting work through a friend, and

 decided to continue this work under a company for herself and her son, Silas. The hope

 would be that Silas gain some skills to become “self-sufficient and financially grounded.”

 PSR Second Addendum at 4.

        Through the company they created, Kathy and Silas perform consulting work,

 principally in the areas of accounting and IT. While at the present, the bulk of their work

 comes from one company, Silas works alongside Kathy conducting the quality control

 software testing and handling some of the administrative tasks involved in running a

 business, including paying the bills, and running payroll. Silas explains that the business

 “has allowed [Kathy] to teach [him] new skills and give [him] new experiences that [he]



                                                 27
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 33 of 45 PageID #:
                                  20843



 would not have otherwise.” Exhibit A (Silas Bryant Letter). Kathy hopes to recruit other

 clients and to “continue to grow the business until her retirement and be able to leave a

 thriving business for her son.” Exhibit C at 3.

             e. The Road Ahead

         With the Court’s permission, Kathy and Silas hope to move to North Carolina and build

 on their new life together. Kathy is working hard to gather enough resources so that she and

 Silas can be independent and live in their own home in a new community. See Exhibit A (Angel

 Smith Letter (“Kathy would like to move to North Carolina . . . so that she can have normal

 relationships with people, not be so isolated, and forge a new life for herself and her son.”)).

 Silas is a year and a half away from finishing his college degree, and, hoping to eventually get a

 masters in psychology, plans to continue his studies at one of the many educational institutions in

 the surrounding area.

         As her family and friends can attest, Kathy wants nothing more than to be an honest,

 productive member of society. See Exhibit A (Amy Heesacker Letter dated February 10, 2020

 (“It has been an honor to work with Kathy as she works diligently to better herself and to make

 strides toward being a productive and positive person in her community.”)); id. (Karen Abney

 Letter (“Kathy wants nothing more than to craft a quiet life working for normal, honest

 people.”)); id. (Patrick Maloney Letter (“Today Kathy is living a quiet life and starting over an

 even better person.”)); id. (David Ashen Letter (“I am so very proud of the level of responsibility

 she has taken and how she has moved on to a more positive direction in her life.”)); id. (J.

 Marilyn Charlotte Letter (“I know [Kathy] is working hard to make things right.”)). She wants a

 quiet and meaningful life, far from the spotlight that these proceedings have thrust upon her. As

 her son, Silas, puts it:



                                                   28
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 34 of 45 PageID #:
                                  20844



           All she wants to do now is move past everything that happened in NY, find a
           better meaning for her life, build a stronger relationship with me, deal with the
           issues that allowed her to be manipulated by Keith, develop a beneficial path for
           herself and those around her, gain some stability while we are here in GA and
           gather enough resources for us to purchase a house in North Carolina (NC).

 Id. (Silas Bryant Letter). Kathy, and those around her, are optimistic that her future can be

 bright.

                                             ARGUMENT

                A SENTENCE OF PROBATION IS SUFFICIENT PUNISHMENT

           As this Court knows, district courts have an “overarching duty ‘to impose a sentence

 sufficient, but not greater than necessary,’ to serve the purposes of sentencing.” Pepper v.

 United States, 562 U.S. 476, 491 (2011) (quoting 18 U.S.C. § 3553(a) (2012)). Though a

 sentencing court must consider the “kinds of sentence and sentencing range established for . . .

 the applicable category of offense committed by the applicable category of defendant as set forth

 in the [U.S.S.G.],” id. § 3553(a)(4), “calculating the correct Guideline range [is] ‘just an initial

 step in the sentencing process,’” United States v. Al Halabi, 563 F. App’x 55, 57 (2d Cir. 2014)

 (citation omitted). A “district court may not presume that a [G]uidelines sentence is reasonable.”

 Id. (quoting United States v. Cavera, 550 F.3d 180, 189 (2d Cir. 2008) (en banc)). Indeed, the

 United States Supreme Court has “emphasized that ‘[h]ighly relevant—if not essential—to [the]

 selection of an appropriate sentence is the possession of the fullest information possible

 concerning the defendant’s life and characteristics.’” Pepper, 562 U.S. at 488 (citations omitted)

 (alterations in original). Finally, the Second Circuit has recently stated that “a sentencing judge

 must have a generosity of spirit, that compassion which causes one to know what it is like to be

 in trouble and in pain.” United States v. Singh, 877 F.3d 107, 121 (2d Cir. 2017) (internal

 quotation marks omitted).



                                                   29
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 35 of 45 PageID #:
                                  20845



         Kathy’s crimes were not insignificant. Lying on a visa application is serious, and her 17-

 year affiliation with NXIVM supported Raniere and tacitly implicated her in the crimes being

 committed by others. She is deeply ashamed of her own misconduct. As Kathy explains:

         What is most horrific for me is the realization that my acts in blind faith indirectly
         supported him to continue his acts of abuse and criminal behavior to others. To
         think that others were hurt far worse than me, and that I was somehow involved
         hurts me deeply . . . I am deeply ashamed and regretful for what my actions have
         caused and what it meant to be someone who supported and was complicit with
         Keith. Sending a message to everyone in the community who believed Keith was
         someone to trust, that he was honorable, and someone who lived a moral life. I
         apologize to each and every person for supporting such a deceitful and devious
         person.

 Exhibit D (Kathy Russell Letter). But given the mitigating facts about her personal history, her

 modest circumstances, and her lesser role within NXIVM, the sentence the Court imposes should

 take into account Kathy’s deep remorse and the enormous personal progress she has made since

 her arrest. As Dr. Pearson’s report makes clear, Kathy was subjected to enormous psychological

 and economic control; indeed, her personal history and background made her particularly

 vulnerable to Raniere’s manipulative tactics. It is all the more remarkable therefore, that since

 her arrest, Kathy has taken extraordinary steps to rebuild her life. Her separation from NXIVM,

 her dedication to counseling and self-reflection, her recommitment to her family, and her efforts

 to become financially self-sufficient, all demonstrate that she is committed to rehabilitation. A

 sentence of probation would allow her to continue rebuilding a healthy and economically stable

 life.

         I.     The Circumstances of the Offense Are Mitigating Because Within NXIVM,
                Kathy Lacked Power And Was Repeatedly at the Receiving End of the
                Organization’s Coercive Tactics

         Kathy accepts full responsibility for her crimes. She engaged in wrongdoing and

 understands that she will be punished for her mistakes. But it is nonetheless relevant that when



                                                  30
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 36 of 45 PageID #:
                                  20846



 she committed these crimes, she was subjected to extreme psychological coercion and

 manipulation. As this Court has recognized, Raniere knew “how to keep people from leaving,

 that’s his skill.” Raniere Sentencing Hr’g Tr. 127, United States v. Russell et al., No. 18-CR-

 204-NGG (E.D.N.Y. Oct. 27, 2020), ECF No. 1002. And, as set out above, Raniere certainly

 kept Kathy from leaving – mentally and physically. As early as 2009, Kathy expressed her deep

 desire to leave nearly every year, admitting to Raniere in 2013 that she was “having difficulty

 finding a way out.” See Exhibit B-7 at 2. Nonetheless, she never managed to act upon this

 expressed desire. Silas attributes Kathy’s inability to leave NXIVM to the complete control the

 organization had over her, which he explains “stripped her of all self-confidence” and left her

 entirely financially dependent. See Exhibit A (Silas Bryant Letter).

        Of course, Raniere controlled and manipulated all of the women in his orbit in different

 ways and to different degrees. But in evaluating the significance of that manipulation for

 purposes of this sentencing, the Court should consider that Kathy had particular vulnerabilities.

 Neither famous nor rich, she had limited economic resources and, as Dr. Pearson’s report makes

 clear, a background and personal history that made her particularly susceptible to Raniere’s form

 of psychological control. Ex. C at 7. Years of verbal, emotional, and physical abuse – first from

 her parents and later from romantic partners – conditioned Kathy to have a self-critical and self-

 blaming attitude. Id. at 8. As Dr. Pearson explains:

        Ms. Russell’s history of physical abuse and emotional neglect from her parents, as
        well as her history of intimate partner violence led her to be more vulnerable to
        predatory and manipulative individuals, especially those who use love and
        attention as a grooming tool.
 Id. at 9. It is a perspective shared by Kathy’s son, who described her family as “dysfunctional”

 in a way that “likely contributed to her engagement with Keith Raniere.” Id. at 7.




                                                 31
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 37 of 45 PageID #:
                                  20847



        Kathy’s fear of not being able to survive financially also made her vulnerable to

 NXIVM’s tactics. To Dr. Pearson, Ms. Russell described “a lifelong fear of being alone and

 unable to support herself monetarily as one of the driving forces behind staying in abusive

 relationships and staying at NXIVM.” Id. at 9. Thus, by providing Kathy with what she so

 desperately needed – “positive attention, close friendship and comradery, as well as sexual

 intimacy, love, and employment” – Raniere and NXIVM were able to control all aspects of her

 life: “[NXIVM] controlled her social, financial, and employment functioning and Mr. Raniere

 controlled her sexual and intimate life.” Id.

        Indeed, the control Raniere exerted over Kathy was extreme. Believing she should

 always serve Raniere’s interests, Kathy sacrificed her own well-being at every turn. When

 Kathy was desperate for a way out and contemplated suicide, she did not act on those impulses

 for fear that Raniere would be held accountable. As Dr. Pearson noted, “even her suicidal

 ideation and emotional distress was not more important than protecting Mr. Raniere.” Id. Her

 physical health also was secondary to Raniere’s whims. In 2013, Kathy broke her wrist, but

 could not seek treatment because she had neither insurance nor funds for medical care. See id. at

 5. She begged Raniere for help, but he refused to authorize any financial assistance. See id.

 Instead, he demanded that Kathy – with her freshly broken wrist – drive him and another

 NXIVM member to get a haircut. Kathy, convinced at the time that Raniere’s desires always

 “superseded even her most basic needs,” obliged. See id. at 9. Dr. Pearson explains what is self-

 evident to even a casual observer of this case, but nonetheless bears emphasis: “Ms. Russell’s

 willingness to follow the lead and rule of Mr. Raniere, the charismatic leader, and others in

 NXIVM, in addition to her willingness to engage in extreme self-sacrifice for the benefit of Mr.

 Raniere, is commonly seen in extreme groups such as cults.” Id.



                                                 32
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 38 of 45 PageID #:
                                  20848



        Because Raniere’s control over her was so complete, Kathy was given myriad tasks to

 complete. But her involvement with the organization is distinguishable from that of her co-

 defendants. Unlike many of them, the tasks she was given did not come with power. Nor did

 Kathy engage in the type of persistent coercive behavior that was the signature modus operandi

 of NXIVM; she did not mete out punishments or demand amends for “ethical breaches.” Just the

 opposite. More often than not, Kathy was at the receiving end of these tactics. Finally, unlike

 many individuals, some who were not even charged in this case, Kathy did not monetarily

 benefit from her association with NXIVM. She was rendered penniless, one more way that the

 organization entrapped her.

        II.     Incarceration is Not Needed to Prevent Recidivism or Achieve Specific
                Deterrence Because Kathy Has Denounced NXIVM and is Rebuilding her
                Life
        Several factors make clear that a sentence of imprisonment is not necessary to deter

 Kathy from engaging in similar conduct, most notably her extraordinary post-arrest rehabilitation

 efforts and her acceptance of responsibility. See, e.g., United States v. Cosme, No. 06-cr-608

 (JBW), 2010 WL 276599, at *2 (E.D.N.Y. Jan. 19, 2010) (“Specific deterrence is satisfied

 because it is improbable that [defendant] will engage in further criminal activity in light of his

 lack of any prior criminal history, acceptance of responsibility, . . . and supportive family

 members.”).

        First, when it established the Sentencing Commission, it was Congress’s intent that first-

 time non-violent offenders like Kathy receive non-custodial sentences. See 28 U.S.C. § 994(j)

 (applicable where the offense is not a “crime of violence or an otherwise serious offense”); see

 Mistretta v. United States, 488 U.S. 361, 377 (1989). The Commission itself has acknowledged

 Congress’s mandate in its amendments to the guidelines, which provide that courts should

 consider imposing a sentence other than imprisonment for nonviolent first-time offenders who

                                                  33
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 39 of 45 PageID #:
                                  20849



 fall within Zone A or B of the Sentencing Table. See U.S.S.G. § 5C1.1, Application Note 4.

 Thus, while the applicable guidelines range here is 6 to 12 months, the Commission authorizes a

 non-custodial sentence.

        The most significant factor in this analysis, however, is Kathy’s denouncement of

 NXIVM and her efforts to rebuild her life. “[A] court’s duty is always to sentence the defendant

 as [s]he stands before the court on the day of sentencing.” Pepper v. United States, 562 U.S.

 476, 492 (2011) (citing United States v. Bryson, 229 F.3d 425, 426 (2d Cir. 2000) (per curiam)).

 In other words, courts should utilize the “most up-to-date picture” of a defendant’s “history and

 characteristics.” Pepper, 562 U.S. at 492. As such, a defendant’s pre-sentencing rehabilitation

 efforts are extremely relevant to the court’s sentencing analysis and often justify a variance from

 the guidelines. See United States v. K, 160 F. Supp. 2d 421, 442 (E.D.N.Y. 2001) (“[T]his

 circuit has recognized repeatedly that in deciding whether to depart downward a sentencing court

 may consider any pre-sentence rehabilitation that a defendant has demonstrated as well as the

 likelihood that probation rather than prison will facilitate a defendant’s future rehabilitation.”);

 United States v. Blake, 89 F. Supp. 2d 328, 346 (E.D.N.Y. 2000) (variance is appropriate where

 defendant has “taken responsibility for [her] actions”, acted to reintegrate [herself] into a

 productive society”, and where “prison would reverse the progress that she has made.”).

        Here, the pre-sentencing rehabilitation efforts are indeed extraordinary. Kathy has taken

 enormous steps to repair herself, her career, her family, and her relationships. She removed

 herself physically from the NXIVM community by moving to Georgia, and hopes to start a new,

 quiet life with her son in North Carolina. She has apologized to both her son and her sister for

 the harm that she caused. Kathy has not only learned to lean on Silas and Kelly for assistance

 and comfort but has become a support system for both of them. Further, Kathy has started her



                                                   34
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 40 of 45 PageID #:
                                  20850



 own company, which will allow her to become self-sufficient and provide for and teach certain

 business skills to Silas.

          Most importantly, as this submission makes abundantly clear, Kathy has wholeheartedly

 rejected NXIVM, including its leader, Raniere and his teachings. In her letter, she writes:

 “[Raniere] is a monster who destroyed so many lives . . . It is truly a horror that I believed Keith

 was an honest, honorable man. I have never known or met anyone who went to the lengths he

 did to manipulate, abuse, and harm.” See Exhibit D. She has not only accepted full

 responsibility for her actions but has also worked hard, in therapy and on her own, to ensure that

 she is never subjected to any sort of manipulation or control in the future. Kathy is devoted to

 continuing her efforts towards self-improvement and to living honestly, generously, and in

 accordance with the law.

          A noncustodial sentence will allow Kathy to continue on this positive path. On the other

 hand, incarceration would halt her progress, including by disrupting her therapy, her work and

 future prospects, and her reintegration into her family and society. As Kathy’s step-mother

 notes:

          Kathy is finally getting her life together. She has her family back and a good job.
          My big concern as we approach the October sentencing is that if Kathy were to go
          to jail it would disrupt her progress and, I imagine, make it very difficult for her to
          get a job afterward. Kathy is already 62. Seniors, as it is, can have a tough time
          finding work and I don’t know how she will be able to support herself without
          any job prospects. I ask that you show leniency in sentencing Kathy so that she
          can continue on her journey towards rehabilitation. I know she is working hard to
          make things right.

 Exhibit A (J. Marilyn Charlotte Letter). See also id. (David Ashen Letter (“I do believe that a

 just outcome for Kathy would be for her to remain outside of prison so that she can continue to

 grow and contribute to society in a more positive way.”)); id. (Kelly Russell Letter (“There is

 nothing positive that would occur in incarcerating her – in fact, I worry that it would devastate

                                                    35
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 41 of 45 PageID #:
                                  20851



 her more.”)); id. (Silas Bryant Letter (“As a son, I beg that you recognize that my mother has

 done the hard work to be a better person. That she has done the hard work to make amends and

 rebuild relationships, and that her punishment for her involvement in NXIVM will be

 lifelong.”)). Dr. Pearson, who spent considerable time evaluating Ms. Russell between

 November 2020 and September 2021, concludes that she “has made significant progress in

 gaining insight and understanding” into herself, her circumstances, her decisions, and how her

 actions affect others. Exhibit C at 7. As one friend concludes: “Kathy has recognized the errors

 she has made . . . [and] has become wiser due to them. It is highly unlikely she’d make the same

 mistakes again.” Exhibit A (Pat Maloney Letter).

        Kathy’s extraordinary rehabilitation is good evidence that a jail sentence is not needed to

 deter her from committing future crimes or protect the public. See Pepper, 562 U.S. 476 at 491-

 92 (“[r]ehabilitation may also critically inform a sentencing judge’s overarching duty under §

 3553(a) to ‘impose a sentence sufficient, but not greater than necessary,’ to comply with the

 sentencing purposes set forth in § 3553(a)(2)”); United States v. Maier, 975 F.2d 944, 948 (2d

 Cir. 1992). We respectfully submit that Kathy, her family, and society as a whole will be best

 served by allowing her to continue her recovery and rehabilitation.

        III.    Incarceration is Not Needed to Promote Respect for the Law or Achieve Just
                Punishment or General Deterrence
        A custodial sentence here would be greater than necessary to promote respect for the law,

 and to achieve just punishment and general deterrence. As an initial matter, while we do not

 doubt the seriousness of the offense, it bears emphasis that a period of probation constitutes a

 real punishment. While custodial sentences are indisputably more severe than probationary

 terms, as the Supreme Court has recognized, “[o]ffenders on probation are nonetheless subject to

 several standard conditions that substantially restrict their liberty.” Gall v. United States, 552


                                                  36
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 42 of 45 PageID #:
                                  20852



 U.S. 38, 48 (2007). For example, “[p]robationers may not leave the judicial district, move, or

 change jobs without notifying, and in some cases receiving permission from, their probation

 officer or the court. They must report regularly to their probation officer, permit unannounced

 visits to their homes, refrain from associating with any person convicted of a felony, and refrain

 from excessive drinking. Most probationers are also subject to individual ‘special conditions’

 imposed by the court.” Id. (internal citation omitted).

        It is also important to emphasize that Kathy has already suffered, and continues to suffer,

 collateral consequences from her participation in the charged conduct. Kathy was arrested by the

 FBI and for three years has been living with significant restrictions to her liberty; for the first

 year she was subject to a curfew with electronic monitoring. She was also subjected to pretrial

 restrictions limiting her contacts, the unwanted attention of paparazzi, and public humiliation

 forever memorialized on the internet. The relentless media outlets tarnished Kathy’s name and

 reputation, falsely linking her in the press to sexual transgressions she was not a part of and knew

 nothing about.

          In short, Kathy has been punished, and will continue to be punished, in myriad ways for

 her participation in NXIVM and its criminal acts. As her son, Silas, puts it:

        [S]he was financially and emotionally controlled by NXIVM, convinced by others
        in the program that she had no way out . . . She basically spent 20 years of her life
        as an indentured servant. While the arrest and prosecution has been traumatic in
        its own way, I am grateful that it helped wake her – and so many other people –
        up. That being said, I truly believe that she does not need to go to jail. She, and
        my entire family, have been punished enough.

 Exhibit A (Silas Bryant Letter). Similarly, Kathy’s sister writes:

        I respectively request that you show Kathy leniency. She is a resilience person
        but incarcerating her would push her over the edge. She has been through so
        much already – it is as if she is recovering from multiple traumas. Not only was
        she victimized by Keith, but the last three years have also caused her immense
        stress and anxiety. Just the threat of going to prison has been enough. No matter

                                                   37
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 43 of 45 PageID #:
                                  20853



        what, she will live with the consequences of this case and her actions forever . . . I
        hope that I have portrayed Kathy to be a good and decent person who has already
        suffered so much from being associated with NXIVM.

 Id. (Kelly Russell Letter). See also id. (David Ashen Letter (“The last few years have been a

 prison for [Kathy] in many ways and allowed her to truly rehabilitate herself.”)). The Court is

 well within its authority to take these collateral consequences into account in fashioning an

 appropriate sentence. See United States v. Nesbeth, 188 F. Supp. 3d 179, 194-95 (taking

 collateral consequences of conviction into account in sentencing defendant with 33-41 months’

 Guidelines range to one year probation and community service).

        IV.     The Needs of Kathy’s Family Weigh in Favor of a Non-Custodial Sentence
        The Court should also consider a defendant’s family circumstances when determining an

 appropriate sentence under 18 U.S.C. § 3553(a). United States v. Coello, 415 F.Supp.3d 306,

 310 (E.D.N.Y. 2019) (noting that, post-Booker, courts may give more weight to the “crucial

 consideration” of familial relationships). Here, not only would incarceration punish Kathy, but it

 would also significantly harm her family, most notably her son. Kathy is helping Silas “get back

 on [his] feet, financially and psychologically,” and is his “principal support system.” Exhibit A

 (Silas Bryant Letter). Silas wants to move to North Carolina with his mother so that he can get

 his college degree, of which he is only a year and half away from completing. Id. Recognizing

 how important therapy has been in his life, Silas hopes to one day get his master’s in behavioral

 psychology so that he can help others in the same way. Id. Silas fears that incarceration for his

 mother would disrupt these plans and cause havoc on him emotionally. He explains:

        For my mother to go to jail now would mean losing her again and losing precious
        time. After her life altering abandonment of me, I am only just now forming a
        deeper relationship with her and allowing myself to depend on her. I believe this
        is a healthy step towards rebuilding our mother-son relationship. But if she were
        incarcerated, I would once again be forced to be emotionally and economically
        independent. A forced separation like that would derail all the personal progress
        that both she and I are making together; and for me personally, it would make it

                                                 38
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 44 of 45 PageID #:
                                  20854



          impossible for me to continue my education in the way that I hope to. Put simply,
          her going to jail would be devastating. I beg Your Honor to take these
          considerations into account when imposing sentence.

 Id.

          Kathy’s sister, Kelly, also worries about the emotional and financial hardships that

 Kathy’s incarceration would bring to her life. Kelly explains:

          Incarcerating [Kathy] would also be a hardship on me. If she goes to prison, she
          may never become self-sufficient. I shall be retiring in a few years and will have
          limited resources to help Kathy. It is important that she continue building her
          company so that she can support herself and her son. It would also be devastating
          for me to lose Kathy just as we are beginning to reestablish our relationship. I
          have few people that I can trust and I now rely on Kathy for her emotional
          support. I would be crushed if Kathy was taken away from me during this
          difficult time in my life.

 Id. (Kelly Russell Letter).7

          A noncustodial sentence is appropriate where, as here, a defendant’s “family is going to

 benefit more by [the defendant’s] presence than society is going to benefit from [the defendant’s]

 incarceration.” United States v. Husein, 478 F.3d 318, 324 (6th Cir. 2007). A sentence of

 probation will be a real, continued punishment for Kathy, and is sufficient to achieve the

 purposes of sentencing without needlessly punishing her family.

                                                 CONCLUSION

          Based on the foregoing, we respectfully urge that the Court sentence Kathy Russell to a

 term of probation. Such a sentence will be sufficient and not greater than necessary to satisfy the

 purposes of sentencing under 18 U.S.C. § 3553(a).




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   Kathy’s friends similarly rely on Kathy for her love and support and also fear losing her to prison. See Exhibit A
 (Karen Abney Letter (“[Kathy] has been there for me through all the middle of the night phone calls and the tears as
 I reached out for her support [after losing multiple family members during the pandemic]. I cannot imagine my life
 without being able to reach out to Kathy for support.”)); id. (Angel Smith Letter (“If Kathy went to jail, it would be
 devastating for Kathy, her family, and also for me. She may not be my biological sister, but she might as well be, as
 she is one of my closest friends in the world. I depend on Kathy for her insight, her care and her support.”)).

                                                          39
Case 1:18-cr-00204-NGG-VMS Document 1130 Filed 10/05/21 Page 45 of 45 PageID #:
                                  20855



 Dated: New York, New York
        October 4, 2021
                                    Respectfully submitted,


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                                      40
